925 F.2d 1127
    UNITED STATES of America, Appellee,v.Matthew Sylvester TWO BULLS, a/k/a Matthew Sylvester TwoBulls, Jr., Appellant.
    No. 90-5040SD.
    United States Court of Appeals,Eighth Circuit.
    Feb. 21, 1991.Order Vacating Rehearing En Bancand Dismissing AppealApril 18, 1991.
    
      1
      Frank A. Bettman, Bettman, Feehan &amp; Cline, Rapid City, S.D., for appellant.
    
    
      2
      Robert A. Mandel, Asst. U.S. Atty., Rapid City, S.D., for appellee.
    
    
      3
      Prior report:  918 F.2d 56.
    
    
      4
      ORDER GRANTING PETITION FOR REHEARING WITH SUGGESTION FOR
    
    REHEARING EN BANC
    
      5
      Appellee's petition for rehearing with suggestion for rehearing en banc has been considered by the court and is granted.  The opinion and judgment of this court filed on October 31, 1990, are vacated.  The case will be set down for en banc hearing at 9:00 A.M. on Thursday, May 2, 1991, in the U.S. Courthouse in St. Paul, Minnesota.  Each party may file supplemental briefs not to exceed fifteen pages.
    
    ORDER
    
      6
      April 18, 1991.
    
    
      7
      The United States has moved to dismiss this appeal upon suggestion of death of the appellant, Matthew Sylvester Two Bulls.  The court being fully apprised thereof now hereby orders that the scheduled en banc hearing is hereby vacated and the appeal dismissed.  The case is remanded to the United States District Court for the District of South Dakota with directions to dismiss the indictment.    See Bradley v. United States, 404 U.S. 567, 92 S.Ct. 746, 30 L.Ed.2d 722 (1972).
    
    